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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                CASE NO: 3:00cr48/LAC
                                                            3:05cv117/LAC/MD
JEFFREY A. MATZ
____________________________________________________________________

                                           ORDER

       The defendant has filed a motion for certificate of appealability and motion for leave
to proceed in forma pauperis (doc 1445). Unless a certificate of appealability is issued, the
defendant may not take an appeal from the final order denying Section 2255 relief. See
28 U.S.C. 2253(c)(1)(B). Because the defendant has not made a substantial showing of
the denial of a constitutional right, and for the reasons set forth in this court’s February 13,
2006 order (doc. 1429) adopting and incorporating the Magistrate Judge’s Report and
Recommendation filed on November 28, 2006 (doc. 1375), his request for a certificate of
appealability is DENIED.
       For the same reasons, there is no good faith basis for an appeal and defendant has
not shown that he is entitled to proceed in forma pauperis. Fed.R.App.P. 24(a). Therefore,
defendant’s motion for leave to proceed in forma pauperis (doc. 1445) is also DENIED.
Defendant shall pay the $255.00 filing fee within thirty (30) days of the date of this order.
       DONE AND ORDERED this 13th day of March, 2006.



                                            s /L.A. Collier
                                            LACEY A. COLLIER
                                            SENIOR UNITED STATES DISTRICT JUDGE
